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Bl (0mehl Fom l) (12/11)
UN]TD STATES BANKRUFI'CY COUll‘l` _|
voma'raa¥u:mion
Name f Debtorl mdivi enter l.ast, F Mi lddlc): Name of Joint Debtor (Spouse) (Last, First, Middle):
° §i'/)f peW+fe Aur/c€

 

AllOtherNarnesusedbytlleDebtorin'/dle lastSyears
(includemarried, maiden1 andtradenames):

/v/H

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):

 

Lasi four digits ursoc. sec. m mdivid\ml.)taxpsyer l.D. (ITIN)/complece EiN
(if more than ooe, state all):

Last four digits of Soc. Sec. or lndividual~Taxpayer 1.D. (I'l`lN)/Complete EIN
(if more than one, state all):

 

sm mims ofl)ebim (Ni>. md sum ciiy, ima smm):

mt 7¢”?;>0947!»%/9¢ (,l. /M/m/ F/~

street A<ldr¢ss ofloim Debmr (No. md sm=m, ciiy, mid sme);

 

 

 

 

 

 

3 3 73 & 5 conl~: | 5 cone |
l CountyofResidmeeorofthePlincipalPlaceofBusiness: CountyofResidenoeorofd:ePriocipalPlaoeot`Business:
MailingAddressofDebtor(ifdiB`ermtli'omstreetaddress): Ma.iling Addressof}ointDebtor(ifdifferentfmmstreetaddress):
5 CODE l CODE
Location of Principal Assets of Business Debtor (if different from street address above):
CODE
'l`ype of Debtor Nature of Buslaess Cllapter of Bankrupt¢y Code Ulder W\teb
(Form of Orgzmimtioo) (Check one box.) the l’elldoll ls med (Chwk m box.)
(Check one box.)
[:] Healtll Cate Business Chapter 7 m Chapter 15 Petition for
d lndividnal (includes Ioint Debtol's) m Single Asset Real Eatate as defined m Chapter 9 R.ecognition of a Foreign
SeeErhibiiDanpageZofthl'sfom llUS.C. § 101(51B) m Chaptu'll MainProceeding
|:| Cmpman'm (mcludm LLc md LLP) l:] Railmd [] Chapv.-r 12 [] Chapin 15 ramon fm
m Parl:nership 1:] Stockbroker [:] Chapter 13 Reeognition of a Foreign
m Otller(lf®btorisnotone ofthe above eotities, check [:] CommodityBroker Nonmain Procwding
this box and state type of entity below.) E/Om Clearing Bank
Cltapter 15 Debton cr'l`ax-Exelnpt Entity Nature of Debts
Country of debtor’s center of main interle: (Ch°°k b°x’ if applicabl°~) (Ch°°k one b°x‘)

 

Debtsarepaimmilyeonsumer [:] Debtsare

 

 

E| Debcorisamx-¢xemp¢mganimion deba,dennedinllu...sc pdmmily
Eaeh country in which a foreign proceeding by, regarding7 or under title 26 of the United States § 101(8) as “incnrred by an business debts
against debtor is pending: Code (tlle Intemal Revenue Code). individual pimarily for a
pasomil, fwuly,or
household pmpose."
Flllng Fce (Checlt one box.) Chapter 11 Debton
Check one box:

|:| Full rilqu m mcneil

M Filing Fee to be paid in installments (applicable to individuals only). Must attach
signed application for the colnt’s eonsidaral:iml cenifying that the debtor is
unable to pay fee except in installments Rnle 1006(b). See Ofiicial Forrn 3A.

[:] Filing Fee waiver requcmd (applicable to chapter 7 individuals only). Must
attach signed application for the eourt’s t‘,t'msid¢:nll`ionl Sce OHicial Fonn 3B.

 

[:] Debtor is a small business debtorasdetinod in 11 U.S.C.§ 101(510).
m Debtor is not a small business debtor as defined in 11 U.S.C. § 101(510).

C beck if:

1:1 Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
insiders or adiliates) are less than $2,343,300 (mnoun! subject to adjustment
on 4/01/13 and every three years thereafter).

Check all applicable boxes
A plan is being filed with this petition_

[:] Acceptances of the plan were solicited prepetition from one or more classes
of creditors, in accordance with 1 1 U.S.C. § 1126(b).

 

Statixtical/Administrative lnfornlat:lon

 

 

 

 

'mls s!AC!. ls Folt
count UsE oNLY
I:I Debtor estimates that funds will be available for distribution to unsecured creditors.
m Debwr estimates lhat, alter any exempt property is excluded and administrative expenses paid, there will be no funds available for
distribution to \msecured creditors

gainedwa ofcmlimrs §
|:l 111 111 111 111 El El 111 111 *_;_
1-49 50-99 100-199 200-999 1,000- 5,001- 10,001- 25,001- 50,001- Over m
5,000 10,000 25,000 50,000 100,000 100,000 §
Estimated Assets .'EL
|:l |:l l`_`.l EI EI l`_`_l l`_`_l l`_`.l EI §
$0 to $50,001 to 3100,001 to $ 00,001 $1, 000, 001 $10,000,001 $50,000,001 $100, 000, 001 $500,000,001 More than §§
$50,000 3100,000 $500,000 to $1 to $lO to 350 to $100 to 8500 to $l billion $l billion r\.`\
million million million milliml million ‘-E"
Estimated liabilities §
l:l l:l l:l g l:l l:l l:l l:l l:l q
$0 to $50,001 to 5100,001 to 00,001 81,000,001 $10,000,001 $50,000,001 $100,000,001 $500,000,001 More than j
$50,000 $100,000 $500,000 to $1 to $10 to $50 w 3100 to $500 to $1 billion $l billion 53

million million million million million

 

 

 

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Bl somdtl Form l) (12/11)

Volultary l’etltlon

Name ofDebtm'(s):
/‘//HUr/'ce gilmom/Mg

 

water be completed ande in everMse.)
All trier Baakrnptcy Caaes Filed Within Last 8

Yeln (If more than two,a_ttach additional shee(.)

 

 

 

 

 

 

 

('l`o be completed ifdebtor is required to tile periodic reports (e.g, forms 10K and
lOQ) with the Securities and Exchange Commission pursuant tn Section 13 or 15(d)
of the Securities Exchange Act of 1934 and is requesting relief under chapter ll.)

m Exhibit A is attached and made a part ofthis petition.

Location Date File?
mm °Ei‘l'”§§m g ~,;iz»U/Z
Location Case Number: Date Filed:
thre Filed:

l*endmslhnlo'upt¢y Case med by any Sponse, Partner, or Amliate of this Debtor (If more than mth additional sheet.)`
Name of Debtor: Casc Numbcr: Date Filed:
District: Relationship: lodge:

Exhibit A Exbibit B

('l`o be completed if debtor `B m individual
whose debts are primarily consumer debts.)

I, theattomey forthepetitioncrnamdintheforegoingpetition, declarethatlhave
informed the petitioner that [he or she] may proceed under chapter 7, 11,12, or 13
of title ll, United Stat$ Code, and have explained the relief available \mder each
such chapter. I further certify that lhave delivered to the debtortbe notice required
by 11 U.s.C. § 342(b).

X

 

(DM€L

 

Signature of Attorneyfor Debtor(s)

 

Does the debtor own or have possession of any property that poses or is alleged to pose
I:I Yes, and Exhibit C is attached and made a part of this petition.
I`_'I No.

Exhlbit C

a threat of imminent and identi§able harm to public health or safety?

 

lf this is a joint petition:

Exbibit D
(To be completed by every individual debtor. If a joint petition is liled, each spouse must complete and attach a separate Exhibit D.)

m Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

I`_'l Exhibit D, also comle and signed by the joint debtor, is attached and made a part of this petition

 

chtor has been domiciled or has had a midence, principal place

l:l

Inforlmdon Regardlng the Debtor - Venne
(Check any applicable box.)

of business, or principd assets in this District for 180 days immediately

preeedingthedateofthispetitionorforalongcrpmtofsuch 180 daysthaninanyotherDislrict.
There is abanlrruptcycaseeoocerning debtor’s affiliate general partner, orparmuship pendingin tliisDisuict.
DebtorisadebtorinaforeignproceedingandhasitsprincipalplaceofbusinessorprincipdassetsindreUnitedStavesind\isDistrict,orhas

noprincipalplaceofbusinesaorassetsindreUnitedStatesbntisadefcndantinanactionorprocceding[inafederalorstatecourt]indris
District, orthe interests of the pmeswillbeservedinregardtothe relief soughtinthis Dislrict.

 

Debtor claims that under applicable nonbanlm)ptcy law, there are

of the petition.

 

Certilieation by a Debtor Who Resldes as a 'l`eaant of Resideatial Property
(Check all applicable boxes.)

landlord has a judgment against the debtor for possession of debtor’s residence (lf box checked, complete the followiug.)

 

(Name of landlord that obtained judgment)

 

(Addms of landlord)

circumstances under which the debtor would be permitted to cure the

mtiremonetarydehultthatgavedaemthejudgmunforpoamsdon,ahudmjudgmmtfmpossessionwasmtue¢md

Debtrthasincludedwidlthispetitionthedeposilvli|hllneoutofmyrunihatwouldbecomeduedmingthe}O-dayperiodailerdleliling

Debtorcertiiies that he/she has served the landlordwidr this certification (ll U.S.C. § 362(1)).

 

 

 

 

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Bl sof§dal Forln ll (12/11) pge;;
Volulltnry Peddoll Nanc of Debtor(s):
lzzis ge mustbecode and iledineverycase.)
Slg!atarec

 

Slguature(s) of Debtor(s) (lnd|vidual/Joiut)

I declare \mder penalty of perjury that the information provided in this petition is true
and correct

[If petitionu’ is an individual whose debts are primarily consumer debts and has
chosen to file umw chapter 7] lam aware thatl may procwd under chapter 7,11,,12
or 13 of title 11, Uniwd Sta|es Code, understand the relief available under each such
chapter, and chooseto proceed under chapter 7.

[lf no attorney reprwems me md no bmhuptcy petition preparer signs the petition] l
have obtained and read the notice required by l 1 U.S.C. § 342(b).

I request relief in accordmce with the chapter of title ll, United States Code,

specifiedin ' "on.
x %;M; : t

 

 

 

 

Signature of a Fordgn Representadve

l declare under penalty of perjury that the information provided in this petition is true
and correct, that I am the foreign representative of a debtor in a foreign proceeding,
and that l am authorized to tile this petition

(Check only one box.)

l:l 1 request relief in accordance with chapter 15 of title ll, United Staws Code.
Certilicd copies of the doc\nnenm required by 11 U.S.C. § 1515 are attached

E| mummuu.s.c.§1511,mque¢m1i¢finaccordane¢wichrht-
chapteroftitle 11 speciEedinthispetitiocL Aceru`tiedcopyofthe
order granting recognition of the foreigunninproeeedingisattached.

 

 

 

 

 

 

Printed Name of Attorney for Debtor(s)

 

Firm Name

 

Address

 

'l`elephoue Number

 

Date

*In a ease in which § 707(b)(4)(D) applies this signature also constitutes a
certificationthattheattomeyhasnoknowledgealteranioquirythat the information
in the schedules is incorrect

 

Slgnat\lre of Debtor (Corpontion/Partnershlp)
Ideclare\mderpenaltyofpujurythattheinformationprovidedinthis petitionistrue
andcorrect,aodthatlhavcbeeuautbmizedtoiilethispetitiononbehalfofthe
debtor.

'l`hedebtorrequeststhereliefinaccordancewithd)eehnpter oftitle ll,UnitedStates
Code, specified in this petition

X

 

Signature of Authorind ludividual

 

Printed Name of Authorimd Individual

 

’l`itle of Authorized lndividual

 

thc

 

 

X
/Sig'lature of Debtor (Signanxre of Foreigu Representa!.ive)

X

Signature of .loint Debtor (Printcd Name of Foreign Representative)

Telephone Number if not by attorney)

‘7?(/> 2’ 7 ? § 2 { bare
Date
Slgnature ofAttorney* Signature of Non-Attorney Bankruptcy Pel:ldon Preparer

X ldeclare under penalty ofperjurythat: (l)lamabanlcruptcy petition prepareras

Signature of Actomey for chtor(s) defined in 11 U.S.C. § 110; (2)1 prepared this document for compensation and have

provided the debtor with a copy of this document and the noch and information
required under ll U.S.C. §§ llO(b), 110(h), and 342(b); and, (3) if rules or
guidelines have ban promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
fee for services chargeable by bankruptcy petition preparers, l have given the debtor
notice of the mimu.m amo\mt before preparing any document for filing for a debtor
or accepting any fee from the debtor, as required in that scction_ OfEcial Form 19 is
attached

 

Printed Narne and title, if any, of Banlmtptcy Petition Preparer

 

Social-Security number (If the bankruptcy petition preparer is not an individual,
state the Social-Security number of the otiicer, principal, responsible person or
partner ofthe bankruptcy petition preparer.) (Required by ll U.S.C. § 110.)

 

Address

 

Signarure

 

Date

Signature of bankruptcy petition preparer or oflicer, pxincipal, responsible person, or
parmer whose Social~Security number is provided above

Na.mes and Social-Security numbers of all other individuals who prepared or assisted

in preparing this document unless the bankruptcy petition preparer is not an
individual

lf more than one person prepmed this document attach additional sheets conforming
to the appropriate oBicial form for each person.

A bankruptcy petition preparer '.rfailure to comply with the prm’isioro‘ of title I 1 and
the Federal Rules of Banbuptcy Proced¢re may result in fines or imprith or
bodl. ll U.SC. § 110; 18 U.S.C. §_156.

 

 

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ia m roman Form 1_ exhibir D) (iz/os)

UNITED STATES BANKRUPTCY COUR_T

In re___._ Mfll)//C€ § §//770/‘/€)£7££) ` ' 'Case No. .
l ' Dehtor (if/cnawn)

EXHIBI`I` D ~ INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE \VITH
CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to.lile a bankruptcy
case, and the court can dismiss any case you do tile. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. 'Il`your case is dismissed and you tile another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’

collection activities.

Every individual debtor must f le this Exhz`bz`l D If a joint petition is f led each spouse
must complete and f le a separate Exhzbit D. Ch.eck one of the f ve statements below and attach

any documents as directed

Cl l. Within the 180 days before the filing of my bankruptcy case`, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and l have a certificate from the agency describing the _
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan

developed through the agency

JZ. Within the 180 days before the filing of my bankruptcy case, I received a_'¢»brielir_ig
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me l’ou must f le a copy of a certzf cate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 15 days after your bankruptcy case 15 f led .

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B lD (Ol`ficial Forrn l,Exh D) (lZ/UE)- Cam_ page 2

U 3. l certify that l requested credit counseling services from an approved agency but
was unable to obtain the services during the five days from the time l made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so l can file my bankruptcy case now. /Summarize exigent circumstances here.l

Il` your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy ol` any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of lS days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing

Cl 4. l am not required to receive a credit counseling briefing because of: [Checlc the
applicable statement ] [Must be accompanied by a rnolion for determination by the court.]

ij Incapacity. (Def'med in l l U.S.C. § lO9(h)(2l) as impaired by reason of mental
illness or mental deficiency so as to be incapable of realizing and making rational
decisions with respect to financial responsibilities.);

El Disability, (Def'med in l 1 U.S.C. § 109(11)(4) as physically impaired to the
extent of being unable, after reasonable effort, to participate in a credit counseling
briefing in person, by telephonc, or through the Intemct.);

ij Active military duty in a military combat zone

C] 5. 'i`he United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of ll U.S.C. § lOQ(h) does not apply in this district

l certify under penalty of'perjury that the information provided above is true and
correct.

  

Signature of` Debtor;

Date:

 

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I//‘/Zf;éo %06%/?19~}&&/ f/. 57 "/3)

